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Prob 12B                  UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                         (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                       Perisha Woolridge

Docket Number:                       1:04CR05321-04

Offender Address:                    Merced, California

Judicial Officer:                    Honorable Oliver W. Wanger
                                     Senior United States District Judge
                                     Fresno, California

Original Sentence Date:              11/14/2005

Original Offense:                    Count 6: 21 USC 841(a)(1), Possession of Cocaine
                                     With Intent to Manufacture and Distribute Cocaine Base
                                     (CLASS A FELONY)
                                     Count 7: 21 USC 841(a)(1), Possession of Cocaine
                                     Base With Intent to Distribute Cocaine Base
                                     (CLASS B FELONY)

Original Sentence:                   31 months Bureau of Prisons, 60 months supervised
                                     release, $200 special assessment, and mandatory
                                     testing.

Special Conditions:                  1) Search and seizure; 2) Drug and alcohol treatment;
                                     3) Drug and alcohol testing; 4) Co-payment plan; 5)
                                     Drug offender registration; and 6) Submit DNA.

Type of Supervision:                 Supervised Release

Supervision Commenced:               01/26/2007

Assistant U.S. Attorney:             Dawrence W. Rice Jr.             Telephone: 559-497-4000

Defense Attorney:                    Glenn E. LoStracco                Telephone: 559-497-5297

Other Court Action:                  None.



                                                                                                           R ev. 02/2007
                                                                              V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                                                                              (M O D IFIC A T IO N ).M R G
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RE:    WOOLRIDGE, Piersha
       Docket Number: 1:04CR05321-01 OWW
       PETITION TO MODIFY THE CONDITIONS OR TERM
       OF SUPERVISION WITH CONSENT OF THE OFFENDER



                               PETITIONING THE COURT


To modify the conditions of supervision as follows:

       The defendant shall complete 50 hours of unpaid community service as
       directed by the probation officer. The defendant shall pay fees attendant to
       participation and placement in this program on a sliding scale as determined
       by the program. Community service shall be completed by December 2007.


Justification: On May 1, 2007, Merced City Police Department cited the releasee for
Petty Theft. According to the arrest report, the releasee entered Albertson’s grocery store
and stole two items, dish liquid and an air freshener. The releasee was cited with a notice
to appear in court on May 29, 2007. She appeared in court and was advised that her case
had not been filed with the District Attorney’s Office and is still pending. The releasee was
directed to contact the clerk’s office every Monday to check the status of her case as the
District Attorney’s Office has up to one year to file. The releasee admits her involvement
in the offense and using bad judgment. She is willing to accept the consequences of her
actions and appears remorseful.

In order to address this violation and issues of accountability, this officer is recommending
the Court modify her conditions of supervision to reflect the above special conditions.
Attached is the signed "Waiver of Hearing to Modify Conditions of Supervised Release..."
This modification will allow the releasee to remain in the community to care for her children
and resolve her case with Merced County Superior Court.




                                                                                                   R ev. 02/2007
                                                                      V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                             2                                        (M O D IFIC A T IO N ).M R G
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RE:   WOOLRIDGE, Piersha
      Docket Number: 1:04CR05321-01 OWW
      PETITION TO MODIFY THE CONDITIONS OR TERM
      OF SUPERVISION WITH CONSENT OF THE OFFENDER




                                 Respectfully submitted,

                                  /s/ Marlene DeOrian

                                 Marlene DeOrian
                          United States Probation Officer
                            Telephone: 559-499-5729


DATED:      June 28, 2007
            Fresno, California
            MKD


REVIEWED BY:       /s/ Bruce A. Vasquez
                  Bruce A. Vasquez
                  Supervising United States Probation Officer




                                                                                         R ev. 02/2007
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                                            3                               (M O D IFIC A T IO N ).M R G
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RE:   WOOLRIDGE, Piersha
      Docket Number: 1:04CR05321-01 OWW
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      OF SUPERVISION WITH CONSENT OF THE OFFENDER




THE COURT ORDERS:

( X ) Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:




IT IS SO ORDERED.

Dated: July 2, 2007                         /s/ Oliver W. Wanger
emm0d6                                 UNITED STATES DISTRICT JUDGE




                                                                                               R ev. 02/2007
                                                                  V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                           4                                      (M O D IFIC A T IO N ).M R G
